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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    RAUL B. VARGAS,                                      Case No.: 20cv0516 LAB (JLB)
12                                       Petitioner,
                                                           ORDER:
13    v.
                                                           (1) DENYING PETITION FOR WRIT
14    SCOTT FRAUENHEIM, Warden, et al.,
                                                           OF HABEAS CORPUS AND
15                                   Respondents.
                                                           (2) DENYING CERTIFICATE OF
16
                                                           APPEALABILITY
17
18          Raul B. Vargas (“Petitioner”) is a state prisoner proceeding pro se with a Petition for
19   Writ of Habeas Corpus pursuant to 28 U.S.C. § 2254. (ECF No. 1.) Petitioner challenges
20   his San Diego County Superior Court conviction for second degree murder with the
21   additional finding that he personally used a deadly weapon, a knife, true findings on two
22   prior strike allegations and resultant sentence of 46 years to life. (Id. at 1-2; see also Clerk’s
23   Tr. [“CT”] at 672-76, 696-97 [ECF No. 7, Lodgment Nos. 1-3].)
24          Petitioner claims his federal constitutional rights to due process and a fair trial were
25   violated because (1) the trial court committed prejudicial error in instructing the jury with
26   an incorrectly modified version of CALCRIM No. 252, (2) the jury instructions provided
27   in CALCRIM Nos. 570 and 571 were defective due to the omission of the requisite mental
28   state for voluntary manslaughter, (3) CALCRIM No. 3472 was incorrect and unable to be

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 1   understood by the jury by reference to the other provided instructions, and (4) the
 2   consideration of Petitioner’s prior juvenile adjudications in sentencing, which also violated
 3   equal protection and resulted in cruel and unusual punishment. (See generally ECF No. 1;
 4   see also ECF No. 7-25.) 1
 5         Respondent has filed an Answer and has lodged the relevant state court record. (ECF
 6   Nos. 6-7.) Respondent maintains that habeas relief is unavailable because the state court
 7   adjudication of Petitioner’s claims on the merits is neither contrary to or an unreasonable
 8   application of clearly established federal law nor based on an unreasonable determination
 9   of the facts. (ECF No. 6 at 2.) Petitioner has filed a Traverse. (ECF No. 8.)
10         For the reasons discussed, the Court DENIES the Petition for a Writ of Habeas
11   Corpus and DENIES a Certificate of Appealability.
12                               I.    PROCEDURAL HISTORY
13         In a second amended Information arising from events that took place on or about
14   April 17, 2016, Petitioner and his co-defendant Roberto Banuelos were charged with one
15   count of murder in violation of Cal. Penal Code § 187(a) and Petitioner was charged with
16   an additional allegation that he personally used a deadly weapon, a knife, during the
17   commission of the crime in violation of Cal. Penal Code § 12022(b)(1). (CT 23-24.) It
18   was also alleged that Petitioner had two convictions and juvenile adjudications which were
19   strike priors under Cal. Penal Code §§ 667(b)-(i), 1170.12, and 668; the first was a March
20   11, 1982 conviction in juvenile court for violations of Cal. Penal Code §§ 211 and 12022.5
21   and the second an August 11, 1982 conviction in juvenile court for a violation of Cal. Penal
22   Code § 211. (CT 24.) Banuelos pled guilty to voluntary manslaughter, admitted his priors
23   and testified for the prosecution in exchange for a reduced sentence of 18 years.
24   (Reporter’s Tr. [“RT”] 2610-11 [ECF No. 7, Lodgment Nos. 4-21].)
25   ///
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27
     1
      In the Petition, Petitioner specifically incorporates by both reference and attachment the
28
     same four claims previously raised in his California Supreme Court petition for review.

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 1         On July 24, 2017, after a jury trial, the jury returned a verdict of guilty of second
 2   degree murder on count one and found true the allegation that Petitioner personally used a
 3   deadly or dangerous weapon during the commission of the murder. (RT 444; CT 672.) In
 4   a separate proceeding on August 1, 2017, the trial court made a true finding on the strike
 5   priors pursuant to Cal. Penal Code §§ 667(b)-(i), 1170.12, and 668. (CT 675.) On October
 6   2, 2017, Petitioner was sentenced to 46 years to life. (CT 696-97.)
 7         On direct appeal to the California Court of Appeal, Petitioner raised the four claims
 8   raised in the instant federal Petition, as well as four additional claims not presented here.
 9   (ECF No. 7-22.) In a reasoned opinion issued on November 28, 2018, the state appellate
10   court affirmed the judgment of conviction. (ECF No. 7-24.)
11         Petitioner thereafter filed a petition for review in the California Supreme Court,
12   raising only the four claims contained in the instant federal Petition. (ECF No. 7-25.) On
13   February 27, 2019, the California Supreme Court denied the petition for review in an order
14   which stated in full: “The petition for review is denied.” (ECF No. 7-26.)
15                              II.   FACTUAL BACKGROUND
16         The following facts are taken from the state appellate court opinion affirming the
17   denial of Petitioner’s appeal in People v. Vargas, D073025 (Cal. Ct. App. Nov. 28, 2018).
18   (See ECF No. 7-24.) The state court factual findings are presumptively reasonable and
19   entitled to deference in these proceedings. See Sumner v. Mata, 449 U.S. 539, 545-47
20   (1981).
21                                           Prosecution

22               Roberto Banuelos and his girlfriend, Christina Vega, lived in a second
23         floor apartment on Granger Street, around the corner from Fenton Place.
           Banuelos was a drug addict, who, in 2016, was working at a restaurant, but
24         also sold drugs out of the apartment.           Vega was a heroin and
25         methamphetamine dealer. Vega had grown up with Jose Estrada, Jr., and she
           often sold him drugs. Estrada lived around the corner from Vega and
26         Banuelos on Fenton Place.
27
                Banuelos and Vargas were friends. Vargas often went to Banuelos and
28         Vega’s apartment to buy drugs.

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 1
                 On February 26, 2016, Vargas went to Banuelos and Vega’s apartment.
 2
           Estrada, who was at that apartment to buy methamphetamine, opened the door
 3         and asked Vargas where he was from. Estrada and Vargas’s interaction turned
           physical with both men falling down the stairs. After the men got up, Estrada
 4
           pulled out a gun and shot at Vargas as he ran toward his car, which was parked
 5         on the street. As Vargas was leaving, he warned Estrada that he was going to
           come back and get him.
 6
 7                Around midnight, Vargas, accompanied by two of his brothers and
           several nephews, returned to the apartment looking for Estrada. They
 8
           demanded to know where Estrada lived. Vega lied and said that she did not
 9         know. She did not tell the Vargases where Estrada lived because she “didn't
           want anything to happen to (him).” When they left, Vargas promised he
10
           would be back to get Estrada and said, “I’m going to fuck him up.” Vargas
11         sent texts to Banuelos a few times after that night, asking if Estrada had been
           by Banuelos’s apartment.
12
13               About a month and a half later, on the night of April 16, Estrada burst
           into Banuelos and Vega’s apartment with a gun, looking for Vargas and his
14
           brothers. After Estrada left, Vega sent Vargas a text, warning that Estrada had
15         a gun and was looking for him.
16
                  Early in the morning on April 17, Estrada returned to the apartment
17         with some sort of metal object. He struck the security screen door, damaging
           it, making it difficult to open. As he was hitting the door, Estrada yelled at
18
           Banuelos, “come outside” and “I told you, motherfucker, about the Vargases,
19         about them being at your house.” About a half hour to an hour later, Vargas
           arrived at Banuelos’s apartment to buy methamphetamine from Vega and to
20
           drive Banuelos to his Narcotics Anonymous meeting. Banuelos told Vargas
21         that Estrada was there earlier and was “acting all crazy.”
22
                  Vargas suggested that they go talk to Estrada. Banuelos thought they
23         were going to “rough up” Estrada. Banuelos and Vargas walked toward
           Estrada’s house. They walked up Granger Avenue, and turned left on Fenton
24
           Place. As they walked up Fenton Place, they split up and walked on opposite
25         sides of the street to keep Estrada from getting away. Estrada was standing in
           the street arguing with his friend, Michael Dexter. When Estrada noticed
26
           Vargas and Banuelos approaching, he ran. With Vargas and Banuelos in
27         pursuit, Estrada jumped over a wall at Ed Black’s residence,2 ran along the
           side of the house and through the backyard. The chase continued into the
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 1         backyard of the neighboring property to the north and proceeded through a
           second backyard before ending in a vacant lot.
 2
                 2
 3                Black lived in the house next door to Estrada. Juan and Carmen
                 Richards lived behind Black, and to the west of the Richards’s
 4
                 house was a vacant lot. The Richards’s property was about three
 5               or four feet lower than Black’s property, and there was no
                 impediment that would prevent a person from dropping down
 6
                 into the Richards’s backyard from Black’s backyard.
 7
                  Vargas initially stabbed Estrada in the southeast corner of the
 8
           Richards’s property, near a shed in the backyard. However, Estrada was able
 9         to leave the Richards’s property and travel to the adjacent vacant lot. Vargas
           and Banuelos also left the Richards’s property, and the confrontation
10
           continued in the vacant lot. Banuelos, who was closer to Estrada, grabbed
11         Estrada’s shoulder and spun him around. Estrada, who at some point had
           picked up a shovel, swung it at Banuelos but Banuelos ducked, avoiding the
12
           blow. Vargas, however, was hit in the chest. Estrada then jabbed at Vargas
13         with the shovel. Vargas grabbed Estrada and got on top of him. He stabbed
           Estrada until he was no longer moving and there was blood coming out of his
14
           mouth.
15
                 As Estrada lay on the ground bleeding, Vargas and Banuelos fled.
16
           Vargas, who had lost his phone, told Banuelos to call Vega and tell her to pick
17         them up in Vargas’s car.
18
                  Meanwhile, Dexter ran down to the vacant lot to help Estrada. Two
19         nearby residents, who heard the fighting from inside of their house, went down
           to help, and they sent Dexter to a nearby fire station. The two others moved
20
           Estrada away from a wood pile, and after laying him on the ground, attempted
21         to stop the bleeding. Medical personnel arrived and transported Estrada to the
           hospital, where he died during emergency surgery.
22
23                When Vega arrived, Vargas got into the backseat, and Banuelos got into
           the front passenger seat. After seeing a lot of blood on Vargas, Vega asked
24
           them what they had done. Banuelos also asked Vargas, “What was that
25         about?” Vargas responded, “What did you think was going to happen?”
           Banuelos replied, “Not that.” Vargas also said, “I got him. I got him good.”
26
           Vargas also advised Banuelos and Vega not to talk about what happened.
27         Before dropping Banuelos off at his Narcotics Anonymous meeting, the group
           stopped at a methadone clinic for Vargas. Vargas took off his bloody
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 1         sweatshirt before going into the clinic. Later that day, when Vega met Vargas
           to drop off his car, Vargas asked her to look for a knife that he had dropped
 2
           across the street from the vacant lot where the stabbing took place.
 3
                  Vargas had stabbed Estrada in his right side, near his back, lacerating
 4
           his diaphragm, liver, and kidney. Estrada also suffered two incised wounds,
 5         which were caused by a knife or sharp object, but the wounds were longer
           whereas a stab wound was deeper in the body. One of the incised wounds
 6
           was on his right back side, and the other was on his right elbow area. Estrada
 7         also had bruising and contusions on his face and head. There were also
           multiple abrasions on his hands and arms and bruising and abrasions on his
 8
           legs.
 9
                  Vargas sustained a small scratch on his chest, a couple of abrasions on
10
           his legs, and some small abrasions on his hands.
11
                 Vargas’s cell phone was found in a pool of blood near where he left
12
           Estrada. DNA found under Estrada’s fingernails was consistent with Vargas’s
13         DNA.
14
                 The day after the killing, Vargas’s brothers went to Banuelos and
15         Vega’s apartment and asked them questions about Dexter. The Vargases
           believed that Dexter was talking to someone about the killing, and they
16
           wanted to find Dexter and give him a “hot shot,” which was a lethal dose of
17         heroin or similar type of drug.
18
                 During a recorded jailhouse phone call, Vargas told his brother that
19         “they” were saying he committed first degree murder, but that he was not in
           town on the day the murder was committed—he was in Norwalk with his
20
           brother.
21                                         Defense
22
                  Vargas testified in his own defense. He stated that on an evening in
23         February 2016, he went to Banuelos’ apartment, only to be met at the door by
           Estrada, a stranger, not Banuelos. Confronting Vargas at the door, Estrada
24
           asked, “Who the fuck are you?” Estrada then blocked the door and pushed
25         Vargas backwards. Vargas turned and ran down the stairs, Estrada chasing
           after him. As Vargas was fleeing, he heard a shot from behind, quickly got
26
           into his car, and left.
27
28   ///

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 1                Later that evening, Vargas returned to Banuelos’s apartment, seeking
           to find out why Estrada was hostile toward him. Vargas emphasized that he
 2
           made no threats, did not attempt to go to Estrada’s home, and did not try to
 3         contact Estrada.
 4
                  Several weeks later, on the evening of April 16, 2016, Vargas received
 5         a text from Vega, relaying to him what Estrada had done in her apartment.
           She said Estrada had shown up, asking about Vargas’s family. She told
 6
           Vargas that Estrada had a gun, and she warned Vargas to be careful.
 7
                 The next morning, Vargas went to Banuelos’s apartment to take him to
 8
           his Narcotics Anonymous meeting. He claimed to have no intent of harming
 9         Estrada that day. When he arrived at the apartment, he noticed the apartment
           door had been damaged. Banuelos told him Estrada had just been there and
10
           had smashed in the door. Banuelos said he needed “to go get at this dude,”
11         and Vargas indicated his willingness to go “along with him.” They started
           walking off in search of Estrada.
12
13                Vargas believed Banuelos was going to get into a fist fight with Estrada.
           As they were walking down Fenton Place, they separated and walked on
14
           separate sides of the street. Vargas saw Estrada and Dexter arguing in the
15         street ahead. When they got within about 15 feet of Estrada, Estrada started
           running. Banuelos ran after him, running from across the street, following
16
           Estrada into the yard of the Black’s residence on Fenton Place. Vargas
17         followed some five or six feet behind Banuelos.
18
                  As Vargas jumped over the backyard fence of that home into the
19         backyard of the Richards’s residence, he saw Estrada reaching down for
           something. Vargas landed between Banuelos and Estrada, at which point
20
           Estrada came at him with a shovel. Vargas jumped back as Estrada swung at
21         him. Estrada swung the shovel again, hitting Vargas in the shoulder. When
           he saw Estrada with the shovel, Vargas pulled out his knife, which he carried
22
           as a tool required for his job, “doing demolition.”3 Vargas stabbed Estrada one
23         time. Vargas and Banuelos eventually left the corner of the backyard and
           headed out on a “little sidewalk(.)” They followed the sidewalk to a vacant
24
           lot. Banuelos arrived first at the vacant lot, followed by Vargas with Estrada
25         six or seven feet away from Vargas.
26               3
                  He insisted he did not take out his knife until Estrada swung the
27               shovel at him.
28

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 1               Estrada was still holding the shovel when they got to the vacant dirt lot.
           He was holding it like a baseball bat. Estrada then rushed at Vargas, swinging
 2
           the shovel, and hitting him in the chest with it. Because he jumped back, he
 3         did not receive the full impact of the hit, but he fell to the ground. On the
           ground, Vargas protected himself by raising his legs to block Estrada’s strikes
 4
           with the shovel. He used his knife again, believing that if he did not use it,
 5         Estrada “was going to end up getting (him) good with that shovel.” After
           Estrada swung the shovel a third time, Vargas was able to get up and “hit
 6
           (Estrada) again” with his knife, and Estrada backed up and fell down. Vargas
 7         then walked away. He explained that he did not stay to describe to the police
           what had happened because he did not think the police were going to believe
 8
           him.
 9
10   (ECF No. 7-24 at 2-9.)
11                                      III.   DISCUSSION
12         Petitioner contends his federal constitutional rights to due process and a fair trial
13   were violated because (1) the trial court committed prejudicial error in instructing the jury
14   with an incorrectly modified version of CALCRIM No. 252, (2) the jury instructions
15   provided in CALCRIM Nos. 570 and 571 were defective due to the omission of the
16   requisite mental state for voluntary manslaughter, (3) CALCRIM No. 3472 was incorrect
17   and unable to be understood by the jury by reference to the other provided instructions, and
18   (4) the consideration of Petitioner’s prior juvenile adjudications in sentencing, which also
19   violated his right to equal protection and resulted in cruel and unusual punishment. (See
20   generally ECF No. 1; see also ECF No. 7-25.) Respondent maintains habeas relief is
21   unavailable because the state court adjudication of Petitioner’s claims on the merits is
22   neither contrary to or an unreasonable application of clearly established federal law nor
23   based on an unreasonable determination of the facts. (ECF No. 6 at 2.)
24   A.    Standard of Review
25         This petition is governed by the Anti-Terrorism and Effective Death Penalty Act of
26   1996, 28 U.S.C. § 2254 (“AEDPA”). 28 U.S.C. § 2254(d). Pursuant to AEDPA, a state
27   prisoner is not entitled to federal habeas relief on a claim that the state court adjudicated
28   on the merits, unless it: “(1) resulted in a decision that was contrary to, or involved an

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 1   unreasonable application of, clearly established Federal law, as determined by the Supreme
 2   Court of the United States,” or “(2) resulted in a decision that was based on an unreasonable
 3   determination of the facts in light of the evidence presented in the State court proceeding.”
 4   Harrington v. Richter, 562 U.S. 86, 97-98 (2011), quoting 28 U.S.C. § 2254(d)(1)-(2).
 5   Moreover, even if § 2254(d) is satisfied or does not apply, a reviewing habeas court must
 6   still determine whether the petitioner has established a federal constitutional violation. See
 7   Fry v. Pliler, 551 U.S. 112, 119 (2007) (§ 2254(d) “sets forth a precondition to the grant of
 8   habeas relief . . . , not an entitlement to it.”); -
                                                        see also ------------
                                                          - ---  Frantz v. Hazey, 533 F.3d 724, 735-36
 9   (9th Cir. 2008) (en banc).
10         A decision is “contrary to” clearly established law if “the state court arrives at a
11   conclusion opposite to that reached by [the Supreme] Court on a question of law or if the
12   state court decides a case differently than [the Supreme] Court has on a set of materially
13   indistinguishable facts.” Williams v. Taylor, 529 U.S. 362, 413 (2000). A decision
14   involves an “unreasonable application” of clearly established federal law if “the state court
15   identifies the correct governing legal principle . . . but unreasonably applies that principle
16   to the facts of the prisoner’s case.” Id.; Bruce v. Terhune, 376 F.3d 950, 953 (9th Cir.
17   2004). With respect to section 2254(d)(2), “[t]he question under AEDPA is not whether a
18   federal court believes the state court’s determination was incorrect but whether that
19   determination was unreasonable– a substantially higher threshold.” Schriro v. Landrigan,
20   550 U.S. 465, 473 (2007), citing Williams, 529 U.S. at 410. “State-court factual findings,
21   moreover, are presumed correct; the petitioner has the burden of rebutting the presumption
22   by ‘clear and convincing evidence.’” Rice v. Collins, 546 U.S. 333, 338-39 (2006), quoting
23   28 U.S.C. § 2254(e)(1).
24          “A state court’s determination that a claim lacks merit precludes federal habeas
25   relief so long as ‘fairminded jurists could disagree’ on the correctness of the state court’s
26   decision.” Richter, 562 U.S. at 101, quoting Yarborough v. Alvarado, 541 U.S. 652, 664
27   (2004). “If this standard is difficult to meet, that is because it was meant to be. As amended
28   by AEDPA, § 2254(d) stops short of imposing a complete bar on federal court relitigation

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 1    of claims already rejected in state proceedings. . . . It preserves authority to issue the writ
 2    in cases where there is no possibility fairminded jurists could disagree that the state court’s
 3    decision conflicts with [the Supreme] Court’s precedents.” Richter, 562 U.S. at 102.
 4          In a federal habeas action, “[t]he petitioner carries the burden of proof.” Cullen v.
 5    Pinholster, 563 U.S. 170, 181 (2011), citing Woodford v. Visciotti, 537 U.S. 19, 25 (2002)
 6    (per curiam). However, “[p]risoner pro se pleadings are given the benefit of liberal
 7    construction.” Porter v. Ollison, 620 F.3d 952, 958 (9th Cir. 2010), citing Erickson v.
 8    Pardus, 551 U.S. 89, 94 (2007) (per curiam).
 9    B.    Merits
10          1.     Claims One and Two- Voluntary Manslaughter Jury Instructions
11          Petitioner asserts the trial court committed several errors in instructing the jury on
12    voluntary manslaughter, violating his federal constitutional rights to a fair trial and due
13    process. In Claim One, Petitioner contends it was prejudicial error for the trial court to
14    instruct the jury with a modified version of CALCRIM No. 252, which instructed that
15    manslaughter was a specific intent offense, but failed to instruct that voluntary
16    manslaughter could also be a general intent offense, while in Claim Two, Petitioner
17    contends that jury instructions CALCRIM Nos. 570 and 571 (voluntary manslaughter
18    based on heat of passion or provocation and imperfect self-defense, respectively) were
19    defective because they failed to mention the requisite mental state for voluntary
20    manslaughter. (ECF No. 1 at 6-7; see also ECF No. 7-25 at 14-28.) Respondent maintains
21    that the state court adjudication of these claims, on the basis that CALCRIM Nos. 570 and
22    571 were legally correct and the error in CALCRIM No. 252 was harmless, was neither
23    contrary to nor an unreasonable application of clearly established federal law. (ECF
24    No. 6-1 at 14.)
25          Petitioner raised these claims in a petition for review in the California Supreme Court
26    and the California Supreme Court’s denial was without explanation. (See ECF Nos. 7-25,
27    7-26.) The United States Supreme Court has repeatedly stated that a presumption exists
28    “[w]here there has been one reasoned state judgment rejecting a federal claim, later

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 1    unexplained orders upholding that judgment or rejecting the same claim rest upon the same
 2    ground.” Ylst v. Nunnemaker, 501 U.S. 797, 803 (1991); see also Wilson v. Sellers,
 3    584 U.S. ___, 138 S.Ct. 1188, 1193 (2018) (“We conclude that federal habeas law employs
 4    a ‘look through’ presumption.”). Given the lack of any record evidence or argument
 5    attempting to rebut this presumption, the Court will “look through” the California Supreme
 6    Court’s summary denial to the reasoned opinion issued by the state appellate court with
 7    respect to Claims One and Two, which the state appellate court adjudicated together. See
 8    Ylst, 501 U.S. at 804 (“The essence of unexplained orders is that they say nothing. We
 9    think that a presumption which gives them no effect- which simply ‘looks through’ them
10    to the last reasoned decision- most nearly reflects the role they are ordinarily intended to
11    play.”) (footnote omitted).
12          The California Court of Appeal first discussed and outlined the elements of murder
13    and lesser included offenses to murder, noting Petitioner was convicted of second degree
14    murder, which is a killing with malice but without the additional elements required for first
15    degree murder, as well as that “[u]nlike murder, manslaughter lacks the element of malice.”
16    (ECF No. 7-24 at 10-11.) The state court recognized heat of passion or unreasonable self-
17    defense could reduce murder to voluntary manslaughter, in that: “Heat of passion reduce(s)
18    an intentional, unlawful killing from murder to voluntary manslaughter by negating the
19    element of malice that otherwise inheres in such a homicide (citation),” and “[s]imilarly,
20    unreasonable self-defense preclude(s) the formation of malice and reduce(s) murder to
21    voluntary manslaughter(.)” (Id. at 11) (internal quotations and citations omitted.) After
22    stating “[a]lthough voluntary manslaughter can be committed intentionally, specific intent
23    to kill is not always a necessary element of that crime; voluntary manslaughter also is
24    committed when one kills unlawfully, and with conscious disregard for life, but lacks
25    malice because of provocation or imperfect self-defense,” (see id. at 12), the state appellate
26    court then reasoned and concluded as follows:
27                Below, with the agreement of all counsel, the trial court instructed the
            jury concerning first degree murder and its lesser included offenses. To this
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 1          end, the court instructed the jury as to murder (CALCRIM No. 520), first
            degree premeditated and deliberated murder (CALCRIM No. 521), the effect
 2
            of provocation on murder (CALCRIM No. 522), voluntary manslaughter
 3          based on heat of passion or provocation (CALCRIM No. 570), and voluntary
            manslaughter based on imperfect self-defense (CALCRIM No. 571).
 4
            Additionally, with the agreement of counsel, the court provided a modified
 5          “concurrence instruction” under CALCRIM No. 252. Here, Vargas
            challenges the giving of CALCRIM Nos. 252 and 571. We will address the
 6
            latter first.
 7
                  The trial court instructed the jury under CALCRIM No. 571 as follows:
 8
 9                “A killing that would otherwise be murder is reduced to
                  voluntary manslaughter if the defendant killed a person because
10
                  he acted in imperfect self-defense or imperfect defense of
11                another. If you conclude that the defendant acted in complete
                  self-defense or defense of another, his actions were lawful, and
12
                  you must find him not guilty of any crime.
13
                  “The (difference) between complete self-defense or defense of
14
                  another and imperfect self-defense or imperfect defense of
15                another depends on whether the defendant’s belief and the need
                  to use deadly force was reasonable.
16
17                “The defendant acted in imperfect self-defense or imperfect
                  defense of another if, one, the defendant actually believed that he
18
                  or someone else was in imminent danger of being killed or
19                suffering great bodily injury; and, two the defendant actually
                  believed that the immediate use of deadly force was necessary to
20
                  defend against the danger, but, three, at least one of those beliefs
21                was unreasonable.
22
                  “Belief in future harm is not sufficient, no matter how great or
23                how likely the harm is believed to be. In evaluating the
                  defendant’s beliefs, consider all of the circumstances as they
24
                  were known and appeared to the defendant.
25
                  “A danger is imminent if when the fatal wound occurred, the
26
                  danger actually existed or the defendant believed it existed. The
27                danger must seem immediate and present so that it must be
                  instantly dealt with. It may not be merely prospective or in the
28

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 1                near future.
 2
                  “Imperfect self-defense does not apply when the defendant,
 3                through his own wrongful conduct, has created circumstances
                  that justify his adversary’s use of force.
 4
 5                “If you find José Estrada Jr. threatened or harmed the defendant
                  or others in the past, you may consider that information in
 6
                  evaluating the defendant’s beliefs. (¶) . . . (¶)
 7
                  “Great bodily injury means a significant or substantial physical
 8
                  injury. It is an injury that is greater than minor or moderate harm.
 9
                  “The People have the burden of proving beyond a reasonable
10
                  doubt that the defendant was not acting in imperfect self-defense
11                or imperfect defense of another. If the People have not met this
                  burden, you must find the defendant not guilty of murder.”
12
13                 Vargas challenges CALCRIM No. 571 here, arguing that the
            instruction “nowhere makes it clear that voluntary manslaughter can lie even
14
            where intent to kill is not present.” In other words, Vargas argues that
15          CALCRIM No. 571 should include some statement that informs the jury that
            a killing in imperfect self-defense, whether intentional or in conscious
16
            disregard of life, is voluntary manslaughter.
17
                   In People v. Genovese (2008) 168 Cal.App.4th 817 (Genovese), the
18
            defendant challenged CALCRIM No. 571 in the same fashion Vargas does
19          here. (Genovese, supra, at p. 825.) The jury in Genovese was instructed with
            the same principles of murder and voluntary manslaughter as Vargas’s jury
20
            was instructed. The jury in Genovese was told “‘(a) killing that would
21          otherwise be murder is reduced to voluntary manslaughter if the defendant
            killed someone because of a sudden quarrel or in the heat of passion.’” (Id. at
22
            p. 831; italics omitted.) Based on this language the court explained: “The
23          killing could not ‘otherwise be murder’ unless the jury found defendant
            intended to kill the victim or acted with conscious disregard for human life,
24
            and the jury was so informed in the instruction defining murder (i.e., that to
25          prove murder, the prosecution must prove defendant acted with malice
            aforethought, and there are two kinds of malice aforethought—express, which
26
            requires intent to kill, and implied, which requires conscious disregard for
27          human life).” (Id. at pp. 831-832.) The court rejected the defendant’s
            argument that, once the jury determined express or implied malice was
28

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 1          present, it was not told it could still find the defendant guilty of voluntary
            manslaughter if it believed he acted in the heat of passion. The court noted
 2
            the plain language of the instructions informed the jury that a killing that
 3          would otherwise be murder is reduced to voluntary manslaughter if the
            defendant acted on a sudden quarrel or in the heat of passion. (Id. at p. 832.)
 4
 5                 As in Genovese, supra, 168 Cal.App.4th 817, the trial court here relied
            on the appropriate pattern instructions to explain to the jury that a killing “that
 6
            would otherwise be murder” is reduced to voluntary manslaughter if the
 7          defendant killed a person during a sudden quarrel or in the heat of passion and
            that the killing could not “otherwise be murder” unless the jury found the
 8
            defendant either had intended to kill the victim or acted with conscious
 9          disregard for human life. Further, the jury was told multiple times that the
            presence of provocation served to reduce murder to voluntary manslaughter.
10
            Therefore, the court’s instructions correctly informed the jury that a killing on
11          a sudden quarrel or in the heat of passion, is voluntary manslaughter.
12
                  We find the reasoning in Genovese, supra, 168 Cal.App.4th 817
13          persuasive and conclude CALCRIM No. 571 correctly states the law. Thus,
            we find no error in general in that the trial court provided that instruction.
14
15                 However, Vargas crafts an additional argument that makes his case
            somewhat different than what the court addressed in Genovese, supra, 168
16
            Cal.App.4th 817. Here, Vargas complains that the trial court specifically told
17          the jury that voluntary manslaughter is a specific intent crime as part of the
            modified concurrence instruction (CALCRIM No. 252).
18
19                 In discussing the potential jury instructions, the trial court pointed out
            that the crime of manslaughter needed to be added to CALCRIM No. 252
20
            because it was a specific intent crime. Both the prosecutor and defense
21          counsel agreed to modify the instruction. The court thus instructed the jury
            per CALCRIM No. 252 as follows:
22
23                “The crime and other allegations charged in Count 1 require
                  proof of the union or joint operation of act and wrongful intent.
24
                  The following allegation requires general criminal intent,
25                personal use of a deadly or dangerous weapon, as charged in
                  Count 1. For you to find the allegation true, that person must not
26
                  only commit the prohibited act, but must do so with wrongful
27                intent.
28

                                                    14
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 1                “A person acts with wrongful intent when he or she intentionally
                  does a prohibited act. However, it is not required that he or she
 2
                  intend to break the law.
 3
                  “The act required is explained in the instructions for that
 4
                  allegation.
 5
                  “The following crimes require a specific intent or mental state,
 6
                  murder, as charged in Count 1, and manslaughter, a lesser crime
 7                to murder.
 8
                  “For you to find a person guilty of these crimes, that person must
 9                not only intentionally commit the prohibited act, but must do so
                  with a specific intent or mental state. The act and the specific
10
                  intent or mental state required are explained in the instruction for
11                those crimes.”
12
                   Vargas claims the modified CALCRIM No. 252 instruction was
13          incorrect because voluntary manslaughter is not only a specific intent crime,
            but can be committed when the defendant acts with conscious disregard for
14
            life. We agree. (See Blakely, supra, 23 Cal.4th at p. 91 (“We conclude that
15          only that a defendant who, with the intent or with conscious disregard for life,
            unlawfully kills in unreasonable self-defense is guilty of voluntary
16
            manslaughter.”); Martinez, supra, 154 Cal.App.4th at p. 336 (“(V)oluntary
17          manslaughter can be committed either with an intent to kill or with conscious
            disregard for human life-specific intent is not always a required element.”).)
18
            Therefore, Vargas maintains that the court committed prejudicial error when
19          it improperly instructed the jury under CALCRIM No. 252.
20
                   In support of his position, Vargas asserts Martinez, supra, 154
21          Cal.App.4th 314 is instructive. In that case, the defendant killed a mini-
            market clerk during a fight. (Id. at pp. 319-321.) He was convicted of second
22
            degree murder. On appeal, the defendant argued, among other issues, that the
23          court’s reference to voluntary manslaughter as a specific intent crime, within
            CALCRIM No. 252, was improper. However, the court noted that earlier in
24
            the CALCRIM No. 252 instruction, the court has instructed the jury that
25          voluntary manslaughter could be a general intent crime as well if the
            defendant committed the act without the intent to kill, but with conscious
26
            disregard for human life. (Martinez, supra, at p. 336.) The appellate court
27          determined that the modified CALCRIM No. 252 instruction was proper, but
            stated that even if the instruction could be construed as requiring the jury to
28

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 1          find a specific intent to kill for manslaughter, and such instruction was
            improper, the failure to properly instruct the jury on voluntary manslaughter
 2
            was not prejudicial error. (Martinez, supra, at p. 337.) In support of its
 3          conclusion, the court observed that the trial court properly instructed the jury
            on the elements of murder, including express and implied malice, and on the
 4
            elements of voluntary manslaughter under both the theories of heat of passion
 5          and imperfect self-defense. Accordingly, the court concluded that any
            confusion among the jurors as to the differences between murder and
 6
            voluntary manslaughter was minimal. (Id. at p. 337.)
 7
                   In insisting that we should follow Martinez, supra, 154 Cal.App.314,
 8
            Vargas claims that the appellate court there found the instruction was not
 9          prejudicial because the trial court also instructed that voluntary manslaughter
            could be a general intent crime. Vargas misreads Martinez. In that case, the
10
            court found the CALCRIM No. 252 instruction was proper. Nevertheless, it
11          assumed the instruction was improper (i.e., instructed the jury that voluntary
            manslaughter was only a specific intent crime, the same as the court instructed
12
            the jury in the instant matter), but determined the error was not prejudicial
13          because: (1) the court properly instructed the jury on the elements of murder
            and manslaughter in addition to CALCRIM No. 252 and (2) under the
14
            evidence presented at trial, it was unlikely the jury would have returned a
15          different verdict had the claimed instructional error not occurred. (Martinez,
            supra, at p. 337.) In this sense, Martinez is helpful here, just not the way
16
            Vargas advocates.
17
                    In the instant matter, by instructing the jury that involuntary
18
            manslaughter is a specific intent crime, without explaining that it also can be
19          a general intent crime, the court erred. (See Blakely, supra, 23 Cal.4th at p.
            91; Martinez, supra, 154 Cal.App.4th at p. 336.) We therefore must determine
20
            if the error was prejudicial. To do so, we evaluate the instructional error under
21          the standard set forth in People v. Watson (1956) 46 Cal.2d 818. (Martinez,
            supra, at p. 337.) A conviction of the charged offense may be reversed in
22
            consequence of an instructional error only if it appears more reasonably
23          probable that the defendant would have obtained a more favorable outcome
            had the error not occurred. (Watson, supra, at p. 836; People v. Lasko (2000)
24
            23 Cal.4th 101, 111.)
25
                  In the instant action, like in Martinez, the court properly instructed the
26
            jury on the elements of murder, express and implied malice, and the elements
27          of voluntary manslaughter under both theories of heat of passion and
            imperfect self-defense. Explicitly, the jury was instructed that the prosecution
28

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 1          had to prove that Vargas did not kill Estrada in the heat of passion or imperfect
            self-defense to prove murder. Thus, like the court in Martinez, we too
 2
            conclude that any confusion caused by the incorrect CALCRIM No. 252
 3          instruction was minimal, and the jury understood the differences between
            murder and voluntary manslaughter. (Martinez, supra, 154 Cal.App.4th at p.
 4
            337.)
 5                 Moreover, in the light of the evidence, it is unlikely that the jury would
            have returned a different verdict had the instructional error not occurred.
 6
            Vargas accompanied Banuelos in looking for Estrada. After finding Estrada,
 7          they chased after him until they cornered him in a backyard where Vargas
            stabbed Estrada. Then Vargas and Banuelos again fought with Estrada in a
 8
            nearby vacant lot, and Vargas stabbed Estrada multiple times, ultimately
 9          killing him.
10
                   The jury also heard evidence after the killing that strongly supported
11          Vargas’s conviction for second degree murder. Vargas fled the scene of the
            crime, got rid of the knife and his bloody sweatshirt, and tried to create an
12
            alibi with his brother. In the getaway car, Vargas said, “I got him. I got him
13          good.” Vargas also advised Banuelos and Vega not to talk about what
            happened. And, the day after the killing, Vargas’s brothers went to Banuelos
14
            and Vega’s apartment and asked them questions about Dexter. The Vargases
15          believed that Dexter was talking to someone about the killing, and they
            wanted to find Dexter and give him a lethal dose of heroin or similar type of
16
            drug.
17
                   In addition, the jury was instructed that “(t)he People have the burden
18
            of proving beyond a reasonable doubt that the defendant was not acting in
19          imperfect self-defense or imperfect defense of another. If the People have not
            met this burden, you must find the defendant not guilty of murder.” The jury
20
            concluded the prosecutor proved that Vargas was not acting in imperfect self-
21          defense, and thus, convicted him of second degree murder. Against this
            backdrop, there was ample evidentiary support for the guilty verdict of second
22
            degree murder such that it is not reasonably probable that Vargas would have
23          obtained a more favorable outcome had the concurrence instruction included
            the statement that voluntary manslaughter can be a general intent crime.
24
            Therefore, any error in the instruction was harmless.
25
26    (Id. at 12-20.)
27          First, given the California Court of Appeal specifically analyzed Petitioner’s Claim
28    One and Two contentions for error under state law only, the Court must determine whether

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 1    the state court adjudicated the federal aspects of those claims on the merits. The Supreme
 2    Court has held that “[w]hen a federal claim has been presented to a state court and the state
 3    court has denied relief, it may be presumed that the state court adjudicated the claim on the
 4    merits in the absence of any indication or state-law procedural principles to the contrary.”
 5    Harrington v. Richter, 562 U.S. 86, 99 (2011); -
                                                     see also ----------------
                                                       - ---  Johnson v. Williams, 568 U.S. 289,
 6    301 (2013) (“When a state court rejects a federal claim without expressly addressing that
 7    claim, a federal habeas court must presume that the federal claim was adjudicated on the
 8    merits—but that presumption can in some limited circumstances be rebutted.”).
 9          Petitioner contended in both the state appellate and state supreme courts that these
10    instructional errors amounted to prejudicial errors under both the state and federal
11    standards, arguing with respect to the latter that the instructional errors prevented the jury
12    from fully and properly considering the lesser included offense of voluntary manslaughter
13    in violation of his rights to a fair trial and to due process. (See ECF No. 7-22 at 44-45, 53-
14    54; ECF No. 7-24 at 20-21, 27-28.) While the state appellate court concluded instructional
15    error had occurred, that court evaluated the harmlessness of that error solely under Watson,
16    which holds “[t]hat a ‘miscarriage of justice’ should be declared only when the court, ‘after
17    an examination of the entire cause, including the evidence,’ is of the ‘opinion’ that it is
18    reasonably probable that a result more favorable to the appealing party would have been
19    reached in the absence of the error.” People v. Watson, 46 Cal. 2d 818, 836 (1956). In
20    state court, “before a federal constitutional error can be held harmless, the court must be
21    able to declare a belief that it was harmless beyond a reasonable doubt.” Chapman v.
22    California, 386 U.S. 18, 24 (1967). The Ninth Circuit has distinguished the two standards,
23    noting: “The Watson standard is used to review non-constitutional, trial type errors,” while
24    “[i]n contrast, the more stringent standard, under Chapman v. California, is used to review
25    errors of constitutional magnitude.” Hall v. Haws, 861 F.3d 977, 989 n.7 (9th Cir. 2017).
26          Given the absence of a federal Chapman analysis, it is unclear whether the state court
27    ignored the federal aspect of Claims One and Two or instead concluded no federal error
28    had occurred, only the latter of which would have rendered a federal harmlessness

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 1    determination unnecessary. See Williams, 568 U.S. at 299-300 (recognizing reasons why
 2    “it is by no means uncommon for a state court to fail to address separately a federal claim
 3    that the court has not simply overlooked,” including, but not limited to that “a state court
 4    may not regard a fleeting reference to a provision of the Federal Constitution or federal
 5    precedent as sufficient to raise a separate federal claim,” as well as “there are instances in
 6    which a state court may simply regard a claim as too insubstantial to merit discussion.”).
 7          Regardless of whether the Court were to conclude the state court may have simply
 8    ignored or overlooked the federal aspect of the claim such that the Williams presumption
 9    could potentially be rebutted, or whether the state court may have found no federal error
10    that would warrant a Chapman analysis, to merit habeas relief Petitioner must still also
11    show that the claimed error had a “substantial and injurious effect or influence in
12    determining the jury’s verdict.” Brecht v. Abrahamson, 507 U.S. 619, 637 (1993); see Fry,
13    551 U.S. at 119 (§ 2254(d) “sets forth a precondition to the grant of habeas relief . . . , not
14    an entitlement to it.”); see also Frantz, 533 F.3d at 735-36. As discussed below, because
15    Petitioner fails to persuasively show any reasonable likelihood of a different verdict under
16    Brecht, as it is evident the jury’s verdict of second degree murder would not have been
17    different absent the asserted instructional error concerning intent as it related to voluntary
18    manslaughter, Claims One and Two do not merit federal habeas relief irrespective of
19    whether the Williams presumption has been rebutted.
20          In Claim One, Petitioner argues that “[b]y incorrectly instructing as to voluntary
21    manslaughter, the instruction given in the instant case did, in fact, served [sic] to limit the
22    jury’s consideration as to what otherwise was a valid lesser included offense.” (ECF No.
23    7-25 at 21.) In Claim Two, Petitioner contends that “under the instruction given, the jury
24    could have convicted petitioner of voluntary manslaughter on the theory that although he
25    had no intent to kill Estrada, he nevertheless acted in conscious disregard for human life,”
26    but the instructional error “failed to give the jury the opportunity to decide whether he had
27    this mental state, even though he was, in all probability, convicted of second degree murder
28    on this very same principle.” (Id. at 27-28.)

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 1          The record reflects the jury was correctly instructed on the elements of murder,
 2    express and implied malice, and manslaughter, as well as that manslaughter was a lesser
 3    included offense to murder. (CT 420-29.) The jury was also specifically directed:
 4    “Provocation may reduce a murder from first degree to second degree and may reduce a
 5    murder to manslaughter,” which again, clearly reflected that manslaughter was a lesser
 6    crime than second degree murder. (CT 424.) Additionally, the jury was unambiguously
 7    instructed the prosecution bore the burden of proving that the killing was not committed
 8    due to a sudden quarrel, in the heat of passion, or due to imperfect self-defense or defense
 9    of another, and if the prosecution failed to so prove, the jury could not find Petitioner guilty
10    of murder. (See CT 426) (“The People have the burden of proving beyond a reasonable
11    doubt that the defendant did not kill as the result of a sudden quarrel or in the heat of
12    passion. If the People have not met this burden, you must find the defendant not guilty of
13    murder.”); (see also CT 429) (“The People have the burden of proving beyond a reasonable
14    doubt that the defendant was not acting in imperfect self-defense or imperfect defense of
15    another. If the People have not met this burden, you must find the defendant not guilty of
16    murder.”). Given the verdict the jury reached in finding Petitioner guilty of second degree
17    murder and upon consideration of the entirety of the trial court’s instructions to the jurors,
18    it is clear the jurors categorically found Petitioner did not act as the result of a sudden
19    quarrel or heat of passion, nor did he act in imperfect self-defense or defense of another.
20          Nor does the Court find the evidence presented at trial renders it likely the jury would
21    have returned a different verdict absent the asserted instructional errors. It is instead plain
22    that Petitioner and Banuelos went looking for Estrada upon Petitioner’s suggestion, spurred
23    by Estrada’s visit to Banuelos’ residence that very morning, and that Petitioner had
24    previously and repeatedly sought to locate Estrada due to a prior violent incident between
25    them where Estrada shot at Petitioner. When Petitioner and Banuelos located him, Estrada
26    fled; they pursued Estrada and Petitioner fought with him, during which Petitioner stabbed
27    Estrada multiple times and killed him. Petitioner’s actions and comments after the murder
28    further support a conclusion that the verdict would not have been different.

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 1          Evidence at trial reflected that several weeks before Estrada’s death, Estrada and
 2    Petitioner had a confrontation of sorts at the Banuelos/Vega residence, during which
 3    Estrada, also known as Junior, shot at Petitioner; several hours later, Petitioner and his
 4    brothers returned to the residence looking for Estrada. (RT 2533-34, 2542, 3266-77.)
 5    Baneulos in particular described the earlier incident as follows: “Junior had went to the
 6    house and got into a scuffle with Raul, and he shot at Raul.” (RT 2533.) Vega, who was
 7    in the residence at the time it happened, added that when Petitioner left after the incident,
 8    he screamed: “I’m going to come back for Junior.” (RT 3277.)
 9          Both the night before Estrada was killed and early that next morning, Estrada visited
10    the Banuelos/Vega residence.       The night before the killing, Estrada went into the
11    apartment, armed with a gun and looking for Petitioner and/or “the Vargases.” (RT 2558,
12    3278-83.) Early the next morning, Estrada again came over to the residence and pounded
13    on the door and then left without entering. (RT 2561.) Banuelos, who had earlier arranged
14    for Petitioner to give him a ride to his meeting, told Petitioner of Estrada’s activities, and
15    Petitioner suggested they go talk to Estrada. (RT 2561-69.) They approached Estrada
16    arguing with Michael Dexter in the street, and Banuelos stated: “At that point Junior had
17    his back towards us, and I started running towards him. And he took off, and we ran after
18    him.” (RT 2569.) Per Banuelos, Estrada picked up a shovel when running and swung it;
19    Banuelos ducked and it hit Petitioner, who went down. (RT 2573-76.) Estrada struck
20    Vargas several times, while Baneulos told Dexter to stop yelling, and: “After, maybe, about
21    five or six times, Junior struck Raul. Raul, kind of like, grabbed him from the arm and
22    pulled him down and got on top of him.” (RT 2576-78.) Banuelos helped Petitioner up
23    and away from the scene, during which time Petitioner said, “I got him,” which Banuelos
24    understood as follows: “I want to say he stabbed him.” (RT 2581-83.) Banuelos admitted
25    that he might have previously told a detective that Petitioner indicated: “I’m going to fuck
26    him up” about Estrada and in response, Banuelos told Petitioner to keep it away from his
27    own residence. (RT 2655-56.) With respect to the shovel jabs, Banuelos stated: “I
28    probably won’t say [Petitioner] was going to die, but I know he was going to get hurt.”

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 1    (RT 2663.) Banuelos also acknowledged that the purpose in catching Estrada that morning
 2    was: “I want to say probably rough him up.” (RT 2649.)
 3          Vega testified that when Banuelos called her to be picked up, she saw blood on
 4    Petitioner’s sweatshirt. (RT 3288.) Vega stated Banuelos asked Petitioner, “What was that
 5    about?” to which Petitioner replied, “What did you think was going to happen?” and
 6    Banuelos said, “Not that.” (RT 3289; see also RT 2587.) According to Vega, Petitioner
 7    appeared: “Like nothing had happened,” that is, neither angry or scared, but calm.
 8    (RT 3289-90.) Petitioner then “told us that we better not say anything,” and stated: “That
 9    we know better. That we shouldn’t - - we better not say anything,” and Petitioner included
10    Dexter in his comments. (RT 3290.) According to Vega, Petitioner also stated: “I got him.
11    I got him good,” noting: “It just came out. Like, he got in the car and he said, ‘I got him.
12    I got him good,’” and “[s]ounded like he was happy about it.” (RT 3291.) Vega did not
13    know who he was talking about at that time. (Id.)
14          Evidence reflects that after Estrada’s death, Petitioner not only fled the scene and
15    failed to call police, but also made other efforts to conceal the evidence and obscure his
16    involvement, including attempting to formulate an alibi and intimidate or silence witnesses.
17    Petitioner asked Vega “to go look for the knife that he dropped,” which he said “was across
18    the street from where the Black’s - - the backyard to where the incident had happened.”
19    (RT 3297.) Vega told him she would but did not. (Id.) Recorded jail phone calls reflected
20    Petitioner and another member of the Vargas family discussing the morning Estrada was
21    killed and Petitioner’s assertion they were visiting an aunt in Norwalk at the time. (CT 233-
22    34; RT 3796-97.) Petitioner’s family members also sought to locate Dexter and expressed
23    concerns that he might speak to police about the matter. Several Vargas brothers came to
24    the Banuelos/Vega residence the day after Estrada was killed and “wanted to know where
25    [Dexter] was at because they said somebody was talking.” (RT 2604, 3301-02.) The
26    Vargases spoke of giving Dexter a “hot shot,” which Vega described as “[a] shot that you
27    either put so much heroin in, it will make somebody die. Or you put poison in, when they
28    inject it, they are going to die.” (RT 3302-03; see also RT 2605.) Vega got scared and told

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 1    Dexter “not to get into any cars with them or not to go anywhere by himself with them, not
 2    to take any dope from them.” (RT 3303.) Vega also feared for herself, as the Vargas
 3    brothers also told her: “That we better not say anything or else we know what’s going to
 4    happen.” (RT 3303-04.)
 5          Criminalist Stephen Lu stated with respect to Estrada’s injuries that “[t]he - - of the
 6    bloodstain evidence that I examined, Mr. Estrada suffered at least one bloodletting injury
 7    in the southeast corner of that lot by the shed, and then he proceeded to move from that
 8    area to the west towards the dirt lot.” (RT 2705.) Testimony reflected that Estrada’s cause
 9    of death was stab wounds to the liver and kidney. (RT 2051.) There was also testimony
10    and photographic evidence offered concerning Petitioner’s injuries, reflecting Petitioner
11    had a small abrasion in the center of his chest about 1-1.5 inches in length, smaller
12    abrasions to two fingers on his right hand and to his left hand, as well as abrasions on his
13    left shin and right knee. (RT 2331-38.) DNA testing was performed on blood stains found
14    on a sidewalk by the fence and by the stick piles, both matched Estrada and excluded
15    Petitioner and Banuelos. (RT 3771-3781.) Blood and other stains on the shovel handle
16    matched Estrada and excluded the others, while DNA evidence reflected one of Estrada’s
17    fingernail scrapings included both Estrada and Petitioner as contributors and excluded the
18    others. (RT 3777, 3781.)
19          Petitioner testified in his own defense that he and Banuelos went to talk to Estrada
20    on Banuelos’ behest, and they both ran after Estrada when he fled; after jumping a fence,
21    Estrada swung a shovel at him twice, hitting him, and “I rushed down, I lowered down and
22    I rushed into him and I stabbed him one time” with a knife he carried on his belt for work.
23    (RT 3815-23.) When Estrada swung at him, Petitioner believed that had he not acted, “he
24    would have end up hurting me seriously” given that after jumping the fence, Petitioner was
25    cornered. (RT 3824.) When they moved to the dirt lot, Estrada again swung the shovel
26    like a bat and hit Petitioner in the chest, then jumped on him. (RT 3825-27.) Petitioner
27    used his knife again because “I had to,” as he had blocked some shots to his face with his
28    feet, feared being hurt with the shovel, and did not have other weapons to defend himself.

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 1    (RT 3828-30.) Afterwards, Petitioner left the area because he did not feel safe and he did
 2    not think the police would believe him; he went to his aunt’s in Norwalk later that day.
 3    (RT 3830-33.) With respect to a recorded jail phone conversation with his brother during
 4    which Petitioner stated “I wasn’t even here” on the day of the killing, Petitioner asserted
 5    that “I just didn’t want to put my case on the phone” because he had already told his brother
 6    about defending himself, but also conceded, “I guess if you want to say it was a lie, yeah,
 7    it was a lie.” (RT 3736-37.) Petitioner stated that he did not see Estrada or Banuelos hit
 8    one another and indicated that Estrada only swung at him. (RT 3878-79.)
 9          A review of the prosecutor’s closing arguments to the jury reflects that the prosecutor
10    focused the bulk of his comments on malice as it related to the murder charge, advocating
11    for a verdict of first degree murder, as well as on the lack of self-defense. (See RT 4057)
12    (“This case is about that chase. And as I go through the law and I go through the evidence
13    that was presented in this trial, I’m confident that you will see that this case is about the
14    chase. The chase should convince you that this was nothing more than a cold, calculated,
15    premeditated murder. This was not self-defense.”); (id. at 4072) (“The case is about that
16    chase. The chase shows the intent to kill. Express malice.”); (id. at 4073-74) (“And clearly
17    there is implied malice in this case. I’m not going to go into as much detail. But when you
18    take a knife and you stab someone with it, knowingly, intentionally. This wasn’t an
19    accident. José Estrada did not fall on that knife. He intentionally -- Raul Vargas
20    intentionally took that blade and shoved it into the body of José Estrada. Everyone knows
21    that’s a dangerous act, the natural and probable consequences of which are dangerous to
22    human life.”); (id. at 4077) (“You don’t get to go chasing after your victim and then claim
23    self-defense when the victim tries to defend his own life from two men chasing after him,
24    two men with motives to hurt him.”); (id. at 4080) (“Self-defense does not allow -- does
25    not provide justification for the killer if he intended to kill. Remember, the motivation has
26    to be -- the motivation to kill had to only have been because he was so afraid and he had
27    no other recourse but to act in self-defense. If he went there with the intent to kill, which
28    the evidence has shown, no justification. He went hunting. He brought the deadly weapon.

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 1    He chased after the victim, and the victim fought for his own life. [¶] When all three
 2    elements have been proven, as they have in this case, we are left with murder.”).
 3          However, the prosecutor also briefly discussed the heat of passion and imperfect
 4    self-defense manslaughter and asserted that manslaughter under either theory was an
 5    inappropriate verdict given the factual circumstances of the case.           The prosecutor
 6    referenced the late February incident to argue that the mid-April killing, which took place
 7    about 50 days later, could not have been due to heat of passion, stating: “You can’t excuse
 8    or somehow negate malice if the average person would have cooled off by then.”
 9    (RT 4093.) The prosecutor also argued against imperfect self-defense, contending: “When
10    you chase a person into a place where they have no retreat and they need to pick up a shovel
11    to defend their own life, you can’t then say ‘Oh, no matter what, I’m going to use deadly
12    force.’ Reasonable or not, it doesn’t apply, and that’s the chase.” (RT 4094.)
13          Even to the extent the prosecutor’s argument could have potentially confused the
14    issue between implied malice second degree murder and voluntary manslaughter, the jurors
15    were advised that arguments and other remarks by counsel were not evidence. (CT 383)
16    (“Nothing that the attorneys say is evidence. In their opening statements and closing
17    arguments, the attorneys discuss the case, but their remarks are not evidence. Their
18    questions are not evidence. Only the witnesses’ answers are evidence. The attorneys’
19    questions are significant only if they helped you to understand the witnesses’ answers. Do
20    not assume that something is true just because one of the attorneys asked a question that
21    suggested it was true.”). The trial court additionally instructed the jurors that in the event
22    of conflict with comments by counsel, the jurors must follow the court’s instructions.
23    (CT 378) (“You must follow the law as I explain it to you, even if you disagree with it. If
24    you believe that the attorneys’ comments on the law conflict with my instructions, you
25    must follow my instructions.”). Just before the closing arguments to the jury, the trial court
26    reminded jurors: “Again, you are the judges of the facts. So if either of the sides says
27    something that you don’t think is proved, go with what you heard and what the facts are.
28    And similarly, go with the law I gave if it happens to have been misstated.” (RT 4056.)

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 1          As noted earlier, the trial court correctly instructed jurors the prosecution bore the
 2    burden of proving Estrada’s killing was not voluntary manslaughter, either due to quarrel,
 3    heat of passion, imperfect self-defense, or imperfect defense of another, and if the
 4    prosecution failed to meet any of those burdens, the jury’s verdict must be not guilty of
 5    murder. As such, for the jury to reach the second degree murder verdict rendered, they
 6    would have had to also conclude the prosecution had met its burden to prove the killing
 7    was not voluntary manslaughter. Those instructions, coupled with the evidence presented
 8    at trial, preclude any conclusion that the jurors were somehow prevented from properly
 9    considering voluntary manslaughter. Moreover, as discussed in greater detail with respect
10    to Claim Three below, the defense did not argue in closing that the killing was voluntary
11    manslaughter by way of heat of passion or imperfect self-defense, but instead primarily
12    asserted Petitioner committed the killing in reasonable self-defense. (See e.g. RT 4096-97)
13    (“But for you, as jurors, to decide whether or not Raul Vargas was faced with a life-or-
14    death situation and had to act to defend himself, you need to look no further than the space
15    behind the Black’s house. You need to look no further than the shovel in José Estrada’s
16    hands. And you need to look no further than the government’s own witnesses because the
17    government’s own witnesses corroborate, support, and confirm everything Raul Vargas
18    told you about his need to act. [¶] This case is not about the chase. This case is about the
19    shovel. Because, Ladies and Gentlemen, when you are faced in that situation with a shovel
20    coming at your head, you have the right to defend yourself. Common sense supports it and
21    the law supports it.”). Had the jury believed the defense, which contended Petitioner killed
22    Estrada in “justifiable legal self-defense” (see RT 4109), Petitioner would not have been
23    convicted of either murder or manslaughter. In any event, the defense argument also
24    correctly noted that voluntary manslaughter was an option for the jurors and that the
25    prosecution bore the burden of disproving both it and the defense theory of legal self-
26    defense. (See e.g. RT 4110) (“[I]t’s the government’s burden to show that it was not
27    imperfect self-defense and that it was also not justifiable, legal self-defense.”).
28    ///

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 1          In view of the considerable evidence supporting the second degree murder
 2    conviction as well as the jury instructions specifically requiring the prosecution to disprove
 3    manslaughter and self-defense and prove the elements of murder in order to return the
 4    verdict they reached, the Court is not persuaded that the error in instructing voluntary
 5    manslaughter was a specific intent offense and the failure to instruct it could also be a
 6    general intent offense, had a “substantial and injurious effect or influence in determining
 7    the jury’s verdict.” Brecht, 507 U.S. at 637. Instead, given the evidence presented and the
 8    complement of jury instructions provided, any error was clearly harmless. Accordingly,
 9    habeas relief is not warranted on Claims One and Two.
10          2.     Claim Three- Jury Instructions Regarding Self-Defense
11          In Claim Three, Petitioner contends that his federal right to a fair trial and due
12    process were violated when the jury was instructed with CALCRIM No. 3472, which
13    prevented the jury from properly considering his claim of self-defense. (ECF No. 1 at 8;
14    see also ECF No. 7-25 at 29-34.) Respondent maintains the state court adjudication of this
15    claim was neither contrary to nor an unreasonable application of clearly established federal
16    law. (ECF No. 6-1 at 18.)
17          As with the prior claims, the California Supreme Court’s denial was without
18    explanation or a statement of reasoning. (See ECF No. 7-26.) Accordingly, the Court will
19    again “look through” the California Supreme Court’s summary denial to the reasoned
20    opinion issued by the state appellate court with respect to Claim Three. See Ylst, 501 U.S.
21    at 804. The California Court of Appeals rejected this claim, reasoning as follows:
22                 Vargas claims an instructional error with respect to CALCRIM No.
            3472 (Right to Self-Defense: May Not Be Contrived). Per that instruction,
23
            the jury was told: “A person does not have the right to self-defense if he or
24          she provokes a fight or quarrel with the intent to create an excuse to use force.”
            Vargas argues the instruction’s categorical language erroneously told the jury
25
            that Vargas forfeited his claim to self-defense if he provoked the fight with
26          the intent to create an excuse to use force.
27
                  Vargas suggests the instruction foreclosed the jury from considering the
28          following version of events. Vargas accompanied Banuelos in going after

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 1          Estrada, but he had no intent to kill Estrada. Instead, he was backing up
            Banuelos, who he believed would get in a fistfight with Estrada. When they
 2
            caught up to Estrada, however, Estrada attacked them with a shovel. Estrada
 3          beat Vargas to the ground, causing Vargas to fear for his life so he took out
            his work knife that he always carried on his person. In self-defense, Vargas
 4
            stabbed Estrada with his knife and then stabbed him again after Estrada had
 5          him down on the ground and continued to hit him with the shovel. We
            disagree with Vargas that CALCRIM No. 3472 prevented the jury from
 6
            considering his version of events.
 7
                   We recognize that the categorical terms of CALCRIM No. 3472 may
 8
            not be correct in all circumstances. A defendant may have a claim to self-
 9          defense if he provokes a fight using only nondeadly force, and the victim
            unlawfully responds with deadly force. (People v. Vasquez (2006) 136
10
            Cal.App.4th 1176, 1179-1180.) Alternatively stated, when an adversary
11          suddenly escalates a confrontation to deadly violence in response to a
            defendant’s use of nondeadly force, the defendant may still invoke self-
12
            defense. (People v. Frandsen (2011) 196 Cal.App.4th 266, 273 (“Only when
13          the victim resorts to unlawful force does the defendant-aggressor regain the
            right of self-defense.” (Italics omitted.)).) Thus, a defendant does not forfeit
14
            his right to self-defense in all cases in which he seeks a fight while intending
15          to create an excuse to use force.
16
                   Although CALCRIM No. 3472 read alone seems to foreclose a claim
17          of self-defense whenever a defendant provokes a fight, we must examine the
            instructions as a whole and presume the jury correlated the instructions.
18
            (People v. Houston (2012) 54 Cal.4th 1186, 1229-1230; People v. Sanchez
19          (2001) 26 Cal.4th 834, 852.) And the court here correctly instructed the jury
            on when self-defense is still available to a defendant who is the initial
20
            aggressor.
21
                   The court instructed the jury with CALCRIM No. 3471 (Right to Self–
22
            Defense: Mutual Combat or Initial Aggressor), which stated in pertinent part:
23          “(I)f the defendant used only nondeadly force, and the opponent responded
            with such sudden and deadly force that the defendant could not withdraw from
24
            the fight, then the defendant had the right to defend himself with deadly force
25          and was not required to try to stop fighting, or communicate the desire to stop
            to the opponent or give the opponent a chance to stop fighting.”4 The jury
26
            was therefore aware that if Vargas used only nondeadly force, and Vargas
27          believed Estrada was responding with sudden and deadly force, Vargas could
            claim he responded with deadly force in self-defense. We do not think there
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 1          is a reasonable likelihood the jurors applied CALCRIM No. 3472 in an
            impermissible manner, when read in context with CALCRIM No. 3471.
 2
            (People v. Houston, supra, 54 Cal.4th at p. 1229.)
 3
                  4
                    Vargas also claims the trial court prejudicially erred by
 4
                  instructing the jury under CALCRIM No. 3471 because that
 5                instruction was not supported by substantial evidence. We reject
                  this argument as explained below.
 6
 7                 Here, to support his argument, Vargas primarily relies on the majority
            decision in Ramirez, supra, 233 Cal.App.4th 940, but as we shall explain, his
 8
            reliance is misplaced. The court in Ramirez acknowledged that “CALCRIM
 9          No. 3472 states a correct rule of law in appropriate circumstances.” (Ramirez,
            supra, at p. 947.) But the facts and arguments before the jury in Ramirez
10
            erroneously required the jurors to conclude the defendants had entirely
11          forfeited any right to self-defense. (Id. at p. 953.) The evidence established
            two codefendants had provoked a fistfight with rival gang members. (Id. at
12
            p. 944.) One of the defendants testified that he stepped back from the melee
13          and saw a rival walking toward him; he thought the rival had something black
            in his hand that looked like a gun, and the rival raised his hand. The defendant
14
            then drew a gun from his sweatshirt pocket and fatally shot the rival. (Id. at
15          p. 945.) The trial court instructed the jury with both CALCRIM Nos. 3471
            and 3472. (Ramirez, supra, at pp. 945-946.)
16
17                 The court found the prosecutor repeatedly misstated the law of self-
            defense during closing argument by arguing that, based on CALCRIM No.
18
            3472, the codefendants’ use of any force—“even nondeadly fisticuffs”—
19          forfeited any claim of self-defense. (Ramirez, supra, 233 Cal.App.4th at pp.
            943, 946, 950, 952.) The prosecutor repeatedly argued “‘it doesn’t matter’”
20
            whether, under CALCRIM No. 3471, the victim escalated a nondeadly
21          conflict to deadly proportions. (Ramirez, supra, at pp. 943, 946, 950, 952.)
            And when defense counsel argued in closing that the defendant regained a
22
            right to defend himself if he truly believed the gang rival had suddenly
23          escalated the fistfight to a gunfight, the prosecutor responded by invoking
            CALCRIM No. 3472 and arguing, “‘(Y)ou cannot have the princip(le) to
24
            mitigate from murder to voluntary manslaughter . . . when you are the one
25          who created the circumstances to begin with. It makes sense. It’s fair. It’s
            just. More importantly, it’s the law.’” (Ramirez, supra, at pp. 946-947.) The
26
            prosecutor argued the categorical terms of CALCRIM No. 3472 trumped the
27          right to self-defense explained in CALCRIM No. 3471. (Ramirez, supra, at
            p. 948.) The appellate court reiterated the repeated arguments by counsel
28

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 1          numerous times, and the prosecutor’s closing argument was a substantial
            factor in the court’s holding of prejudicial error. (See id. at pp. 943, 947, 953.)
 2
 3                  Ramirez, supra, 233 Cal.App.4th 940 is distinguishable from the instant
            action. The substantially aggravating factor of the prosecutor repeatedly
 4
            misleading the jury on the law, that is, telling the jury that it did not matter
 5          whether the victim escalated a nondeadly conflict to deadly proportions is not
            present in the instant action. Here, the prosecutor did argue that based on
 6
            CALCRIM No. 3472, Vargas was not defending himself because he chased
 7          after Estrada, armed with a knife, with the intent to kill Estrada. The
            prosecutor therefore argued that it was Estrada, not Vargas, who acted in self-
 8
            defense. He emphasized, “Self-defense does not allow -- does not provide
 9          justification for the killer if he intended to kill. . . . (Vargas) went hunting.
            He brought a deadly weapon. He chased after the victim, and the victim
10
            fought for his own life.” Accordingly, the prosecutor did not tell the jury that
11          Estrada’s conduct did not matter. Instead, he insisted Vargas could not have
            actually believed in imminent harm from Estrada.
12
13                 Considering the evidence proffered at trial, the totality of the jury
            instructions, and the prosecutor’s closing argument, there was no instructional
14
            error under CALCRIM No. 3472. At trial in the instant matter, the jury was
15          not required to conclude if Vargas sought a nondeadly confrontation with
            Estrada, he forfeited the right to self-defense even if the victim resorted to
16
            deadly force.
17
18    (ECF No. 7-24 at 20-24.)
19          In evaluating a claim of instructional error, the question is “‘whether the ailing
20    instruction by itself so infected the entire trial that the resulting conviction violates due
21    process.’” Estelle v. McGuire, 502 U.S. 62, 72 (1991), quoting Cupp v. Naughten,
22    414 U.S. 141, 147 (1973). “It is well established that the instruction ‘may not be judged in
23    artificial isolation,’ but must be considered in the context of the instructions as a whole and
24    the trial record.” McGuire, 502 U.S. at 72, quoting Cupp, 414 U.S. at 147. As noted earlier,
25    even if federal constitutional error occurred, habeas relief is only available if the error had
26    a “substantial and injurious effect or influence in determining the jury’s verdict.” Brecht,
27    507 U.S. at 637.
28    ///

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 1          Petitioner alleges the trial court erred in instructing the jury with CALCRIM
 2    No. 3472 “under the facts of this case,” and asserts this instruction “effectively prevented
 3    the jury from considering his self-defense claim, in that it instructed the jury that a person
 4    does not have a right to self-defense if he provokes a fight or quarrel with the intent to
 5    create an excuse to use force, regardless of the force employed by the opposing combatant.”
 6    (ECF No. 1 at 8, ECF No. 7-25 at 29-30.) In CALCRIM No. 3472, the trial court instructed
 7    jurors that the right to self-defense may not be contrived, as follows: “A person does not
 8    have the right to self-defense if he or she provokes a fight or quarrel with the intent to
 9    create an excuse to use force.” (CT 438.) While acknowledging that the CALCRIM
10    No. 3472 instruction when “read alone seems to foreclose a claim of self-defense whenever
11    a defendant provokes a fight,” the state court also observed that a reviewing court “must
12    examine the instructions as a whole and presume the jury correlated the instructions,” and
13    found “the court here correctly instructed the jury on when self-defense is still available to
14    a defendant who is the initial aggressor.” (ECF No. 7-24 at 21.)
15          Upon review, this assessment was reasonable. First, clearly established law directs
16    that the import of CALCRIM No. 3472 cannot be determined “in artificial isolation,” but
17    instead the instruction “must be considered in the context of the instructions as a whole and
18    the trial record.” McGuire, 502 U.S. at 72, quoting Cupp, 414 U.S. at 147. Indeed,
19    Petitioner’s jury was similarly directed pursuant to CALCRIM No. 200 that the jury
20    instructions must be considered together and that no one instruction, even if repeated, was
21    more important than any other, as follows: “Pay careful attention to all of these instructions
22    and consider them together. If I repeat any instruction or idea, do not conclude that it is
23    more important than any other instruction or idea just because I repeated it.” (CT 378.) In
24    the same instruction, the trial court also directed the jury: “You must decide what the facts
25    are. It is all up to you, and you alone to decide what happened, based only on the evidence
26    that has been presented to you in this trial,” as well as that it was the jury’s responsibility
27    to determine, based on their factual findings, whether and which instructions would apply,
28    as follows: “Some of these instructions may not apply, depending on your findings about

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 1    the facts of the case. Do not assume just because I give a particular instruction that I am
 2    suggesting anything about the facts. After you have decided what the facts are, follow the
 3    instructions that do apply to the facts as you find them.” (CT 378-79.)
 4          Importantly, Petitioner’s jury was also instructed pursuant to CALCRIM No. 3471,
 5    which specifically provides a right of self-defense to an initial aggressor or in the event of
 6    mutual combat under specified circumstances, in relevant part as follows: “[I]f the
 7    defendant used only nondeadly force, and the opponent responded with such sudden and
 8    deadly force that the defendant could not withdraw from the fight, then the defendant had
 9    the right to defend himself with deadly force and was not required to try to stop fighting,
10    or communicate the desire to stop to the opponent, or give the opponent a chance to stop
11    fighting.” (CT 436.) While CALCRIM No. 3472, when read alone, appears to preclude
12    self-defense where a defendant provoked a fight in order to create a reason to use force,
13    when read in concert with the other jury instructions, particularly CALCRIM No. 3471, it
14    is clear that even an individual who started a fight may have a right to self-defense, such
15    as where the opponent responded with such force that withdrawal was not possible. Here,
16    the presence of the CALCRIM No. 3471 instruction clearly undercuts Petitioner’s assertion
17    that “[t]he instructions and the prosecutor’s argument established as a matter of law that
18    petitioner was not entitled to the affirmative defense of imperfect self-defense if he had
19    contrived to use ‘any’ force, however nondeadly.” (ECF No. 7-25 at 33.)
20          A fair reading of the prosecutor’s closing arguments to the jury does not reflect that
21    the prosecutor erroneously stated the law to assert Petitioner was not entitled to use any
22    force or was not entitled to self-defense under any circumstances. Upon initial review, the
23    prosecutor contended Petitioner was not entitled to self-defense and asserted he was the
24    initial aggressor. (RT 4126) (“Think it through. Look at the instructions. Understand what
25    [Petitioner’s defense counsel] is trying to have you believe and what Mr. Vargas needs you
26    to believe, that he is the victim. And you will see that doesn’t work. Common sense
27    doesn’t support that. You don’t get to be the initial aggressor. . .”). However, the main
28    thrust of the prosecutor’s argument was that the evidence introduced at trial showed “Raul

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 1    Vargas intended to kill” and “José Estrada had the right to self-defense when two men were
 2    coming after him with all of the circumstances and all of the background that you know
 3    exist in this case. He is the victim in this circumstance, on this morning, in this encounter;
 4    not Raul Vargas.” (Id.); (see also RT 4057) (“This case is about that chase. And as I go
 5    through the law and I go through the evidence that was presented in this trial, I’m confident
 6    that you will see that this case is about the chase. The chase should convince you that this
 7    was nothing more than a cold, calculated, premeditated murder. This was not self-
 8    defense.”); (RT 4080) (“Self-defense does not allow - - does not provide justification for
 9    the killer if he intended to kill. Remember, the motivation has to be - - the motivation to
10    kill had to only have been because he was so afraid and he had no other recourse but to act
11    in self-defense. If he went there with the intent to kill, which the evidence has shown, no
12    justification. He went hunting. He brought the deadly weapon. He chased after the victim,
13    and the victim fought for his own life.”).
14          Nor does a review of the defense argument reflect that self-defense was somehow
15    precluded under the instructions and the facts of the case, as the defense vigorously argued
16    that Petitioner was entitled to use force to defend himself when the victim attacked him
17    with a shovel after the chase. (See e.g. RT 4097) (“This case is not about the chase. This
18    case is about the shovel. Because, Ladies and Gentlemen, when you are faced in that
19    situation with a shovel coming at your head repeatedly, you have the right to defend
20    yourself. Common sense supports it and the law supports. [¶] This case is about the
21    shovel.”); (see also RT 4100) (“When Raul Vargas comes over that fence, there is no
22    weapon in his hand. There is no threats that have been communicated. He had not even
23    touched Mr. Estrada. And at that point in time, Mr. Estrada violently attacks him with a
24    metal shovel. That is a reasonable belief of death or great bodily injury.”)
25          At any rate, even were Petitioner able to show the prosecutor’s arguments contained
26    an incorrect statement of the law, as noted above, the jurors were also advised that the
27    arguments of and other remarks by counsel were not evidence and that in the event of any
28    conflict with comments by counsel, jurors must follow the court’s instructions. (See

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 1    CT 383) (“Nothing that the attorneys say is evidence. In their opening statements and
 2    closing arguments, the attorneys discuss the case, but their remarks are not evidence.”);
 3    (see also CT 378) (“You must follow the law as I explain it to you, even if you disagree
 4    with it.   If you believe that the attorneys’ comments on the law conflict with my
 5    instructions, you must follow my instructions.”). The trial court also advised jurors that
 6    depending on their factual findings and conclusions, not all instructions might apply to the
 7    case and that it was the jurors’ responsibility to decide what the facts were. (See
 8    CT 378-79) (“You must decide what the facts are. It is up to all of you, and you alone to
 9    decide what happened, based only on the evidence that has been presented to you in this
10    trial. . . Some of these instructions may not apply, depending on your findings about the
11    facts of the case. Do not assume just because I give a particular instruction that I am
12    suggesting anything about the facts. After you have decided what the facts are, follow the
13    instructions that do apply to the facts as you find them.”). A jury is presumed to understand
14    and follow the trial court’s instructions. See Weeks v. Angelone, 528 U.S. 225, 234 (2000);
15    Richardson v. Marsh, 481 U.S. 200, 211 (1989).
16          Based on a review of the trial record and the jury instructions considered as a whole,
17    the Court cannot conclude CALCRIM No. 3472 “‘by itself so infected the entire trial that
18    the resulting conviction violates due process.’” McGuire, 502 U.S. at 72, quoting Cupp,
19    414 U.S. at 147. Petitioner not only fails to show that the trial court erred in instructing
20    the jury with CALCRIM No. 3472, he also fails to demonstrate that any alleged error had
21    a “substantial and injurious effect or influence in determining the jury’s verdict.” Brecht,
22    507 U.S. at 637. Because Petitioner has not shown the state court rejection of this claim
23    was either contrary to, or an unreasonable application of, clearly established federal law,
24    or that it was based on an unreasonable determination of the facts, habeas relief is not
25    available on Claim Three.
26          3.     Claim Four- Use of Juvenile Adjudications as Strike Convictions
27          In Claim Four, Petitioner contends that the use of his juvenile adjudications as strikes
28    violated his federal constitutional rights to due process, jury trial, equal protection and to

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 1    protection against cruel and unusual punishment. (ECF No. 1 at 9; see also ECF No. 7-25
 2    at 35-41.) Respondent maintains the state court’s denial of this claim was reasonable and
 3    federal habeas relief is not available, citing a lack of Supreme Court precedent prohibiting
 4    the use of juvenile court findings as strikes and asserting recent Supreme Court cases
 5    concerning juvenile offenders upon which Petitioner relies, including but not limited to
 6    Roper v. Simmons, 543 U.S. 551 (2005) and Graham v. Florida, 560 U.S. 48 (2010), are
 7    inapplicable to the instant situation. (ECF No. 6-1 at 21-23.)
 8          Because the California Supreme Court’s denial was without explanation or a
 9    statement of reasoning (see ECF No. 7-26), the Court will again “look through” the
10    California Supreme Court’s summary denial to the reasoned opinion issued by the state
11    appellate court with respect to Claim Four. See Ylst, 501 U.S. at 804. The California
12    Court of Appeals rejected this claim, reasoning as follows:
13                 Citing the Ninth Circuit Court of Appeal’s decision in United States v.
            Tighe (9th Cir. 2001) 266 F.3d 1187 and the United States Supreme Court’s
14
            decision in Apprendi v. New Jersey (2000) 530 U.S. 466, Vargas contends that
15          the use of two juvenile adjudications as prior strike convictions violated the
            Sixth, Eighth, and Fourteenth amendments because “a proper interpretation of
16
            United States Supreme Court precedent bars using juvenile adjudications to
17          enhance a substantive offense sentence.”
18
                   However, as Vargas acknowledges, a similar argument was rejected in
19          People v. Nguyen (2009) 46 Cal.4th 1007 at page 1028. Vargas implies
            Nguyen was wrongly decided and that it cannot be reconciled with In re W.B.
20
            (2012) 55 Cal.4th 30. But W.B. did not address using juvenile adjudications
21          as prior strikes. Nor did that case discuss or even mention Nguyen. Nguyen
            thus remains precedent. We are bound to follow it (Auto Equity Sales, Inc. v.
22
            Superior Court (1962) 57 Cal.2d 450, 455), but note Vargas’s preservation of
23          the issue for further review.
24    (ECF No. 7-24 at 32-33.)
25          In a separate proceeding from Petitioner’s jury trial, the trial court made a true
26    finding on the strike priors pursuant to Cal. Penal Code §§ 667(b)-(i), 1170.12, and 668.
27    (CT 675.) On October 2, 2017, Petitioner was sentenced to 46 years to life; the record
28    reflects that as a result of the strike findings, Petitioner’s sentence on count one was

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 1    “tripled.” (CT 696-97); (see also RT 5228) (“He is sentenced to a term of 15 years to life
 2    on Count 1, which is tripled, because of the strike, to 45 years to life. There is an additional
 3    one year for the weapon allegation. . .”). Petitioner contends that the use of these juvenile
 4    adjudications to enhance his sentence violated his federal rights.
 5          In Apprendi v. New Jersey, 530 U.S. 466 (2000), the Supreme Court held that
 6    “[o]ther than the fact of a prior conviction, any fact that increases the penalty for a crime
 7    beyond the prescribed statutory maximum must be submitted to a jury, and proved beyond
 8    a reasonable doubt.” Id. at 490. The Ninth Circuit subsequently held the use of a non-jury
 9    juvenile adjudication to increase a criminal penalty beyond the statutory maximum violated
10    Apprendi, reasoning: “Apprendi’s narrow ‘prior conviction’ exception is limited to prior
11    convictions resulting from proceedings that afforded the procedural necessities of a jury
12    trial and proof beyond a reasonable doubt. Thus, the ‘prior conviction’ exception does not
13    include nonjury juvenile adjudications.” United States v. Tighe, 266 F.3d 1187, 1194-95
14    (9th Cir. 2001) (footnote omitted).
15          Yet, the instant case is also subject to AEDPA review, which bars habeas relief
16    unless the state court adjudication either “resulted in a decision that was contrary to, or
17    involved an unreasonable application of, clearly established Federal law, as determined by
18    the Supreme Court of the United States,” or “resulted in a decision that was based on an
19    unreasonable determination of the facts in light of the evidence presented in the State court
20    proceeding.” Richter, 562 U.S. at 97-98, quoting 28 U.S.C. § 2254(d)(1)-(2). Here, the
21    Court finds no support for a conclusion that the state court decision involved an
22    unreasonable factual determination under section 2254(d)(2), and Petitioner does not so
23    argue. The Court is therefore left to decide whether the state court decision was either
24    contrary to, or an unreasonable application of, clearly established federal law. Upon
25    review, it is apparent the Ninth Circuit has rejected any such conclusion based on Tighe,
26    as that court has held as follows:
27          We have already determined that our holding in Tighe is not clearly
            established Federal law for AEDPA purposes. See Boyd v. Newland, 467 F.3d
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 1          1139, 1152 (9th Cir.2006). Boyd noted that Tighe had been rejected not only
            by the California courts, but also by the Third, Eighth, and Eleventh Circuits.
 2
            See id. We concluded that, “in the face of authority that is directly contrary
 3          to Tighe, and in the absence of explicit direction from the Supreme Court, we
            cannot hold that the California courts’ use of Petitioner’s juvenile adjudication
 4
            as a sentencing enhancement was contrary to, or involved an unreasonable
 5          application of,” clearly established Supreme Court precedent. Id.
 6    John-Charles v. California, 646 F.3d 1243, 1252-53 (9th Cir. 2011).
 7          Petitioner nonetheless contends that the use of juvenile offenses as strikes is
 8    inconsistent with recent United States Supreme Court decisions concerning juvenile
 9    offenders, citing Roper v. Simmons, 543 U.S. 551 (2005) and Graham v. Florida,
10    560 U.S. 48 (2010). (See e.g. ECF No. 7-25 at 36-38.) Petitioner’s reliance on those cases
11    is misplaced, as neither decision concerns the propriety of using strike convictions suffered
12    as a juvenile to enhance a sentence. While both decisions concerned juvenile offenses, the
13    Roper Court held only: “The Eighth and Fourteenth Amendments forbid imposition of the
14    death penalty on offenders who were under the age of 18 when their crimes were
15    committed.” Roper, 543 U.S. at 578. Meanwhile, the Graham Court extended Roper to
16    hold: “The Constitution prohibits the imposition of a life without parole sentence on a
17    juvenile offender who did not commit homicide.” Graham, 560 U.S. at 82. Aside from
18    the fact that Petitioner faces neither a death sentence nor a sentence of life in prison without
19    the possibility of parole, Roper and Graham are additionally inapt because Petitioner’s
20    sentence, while enhanced by prior juvenile convictions, was imposed for a murder
21    conviction sustained due to criminal behavior committed when he was clearly an adult.
22    The fact remains that there is a lack of any clearly established federal law prohibiting the
23    use of convictions sustained as a juvenile as strike offenses, and Petitioner does not
24    demonstrate otherwise.
25          In view of the lack of any United States Supreme Court authority on this point, much
26    less any Supreme Court authority supporting Petitioner’s claim of federal constitutional
27    error, the Court is unable to conclude that the state court decision was either contrary to or
28    an unreasonable application of, clearly established federal law. See John-Charles, 646 F.3d

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 1    at 1252-53; see also Wright v. Van Patten, 552 U.S. 120, 126 (2008) (“Because [the
 2    Supreme Court’s] cases give no clear answer to the question presented, let alone one in
 3    [Petitioner’s] favor, “it cannot be said that the state court ‘unreasonabl(y) appli(ed) clearly
 4    established Federal law.’”), quoting Carey v. Musladin, 549 U.S. 70, 77 (2006) and
 5    28 U.S.C. § 2254(d)(1). Accordingly, habeas relief is not available on Claim Four.
 6    C.    Certificate of Appealability
 7          “A certificate of appealability should issue if ‘reasonable jurists could debate
 8    whether’ (1) the district court’s assessment of the claim was debatable or wrong; or (2) the
 9    issue presented is ‘adequate to deserve encouragement to proceed further.’” Shoemaker v.
10    Taylor, 730 F.3d 778, 790 (9th Cir. 2013), quoting Slack v. McDaniel, 529 U.S. 473, 484
11    (2000).   Because none of Petitioner’s claims meet this standard, a certificate of
12    appealability is not warranted.
13                                       IV.    CONCLUSION
14          For the reasons stated above, the Petition for a Writ of Habeas Corpus is DENIED.
15    The Court DENIES a Certificate of Appealability.
16    IT IS SO ORDERED.
17    Dated: October 16, 2020
18                                             _______________________________________
19                                             Hon. Larry Alan Burns
                                               Chief United States District Judge
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